                      Case 1:21-cr-00411-APM Document 1 Filed 05/24/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                     United States of America                       )
                                v.                                  )
               STEWART PARKS, (XX/XX/XXXX)                          )      Case No.
                                                                    )
              MATTHEW BAGGOTT, (XX/XX/XXXX)
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                               in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
            Code Section                                                      Offense Description
    STEWART PARKS: 18 U.S.C. § 1752(a)(1) - Entering or Remaining in Restricted Building or Grounds
    Without Lawful Authority; 18 U.S.C. § 1752(a)(2) - Disorderly or Disruptive Conduct in Restricted
    Building or Grounds / Impeding Official Business; 40 U.S.C. § 5104(e)(2)(D), (E), and (F) - Violent
    Entry or Disorderly Conduct on Capitol Grounds and 18 U.S.C. § 641 - Theft of Government Property.

    MATTHEW BAGGOTT: 18 U.S.C. § 1752(a)(1) - Entering or Remaining in Restricted Building or
    Grounds Without Lawful Authority; 18 U.S.C. § 1752(a)(2) - Disorderly or Disruptive Conduct in
    Restricted Building or Grounds / Impeding Official Business; and 40 U.S.C. § 5104(e)(2)(D), (E), and (F)
    - Violent Entry or Disorderly Conduct on Capitol Grounds.
           This criminal complaint is based on these facts:
    6HHDWWDFKHGVWDWHPHQWRIIDFWV


         9
         u Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                    Christopher R. Potts, Special Agent
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                              2021.05.24
Date:             05/24/2021
                                                                                                           21:04:25 -04'00'
                                                                                                Judge’s signature

City and state:                         :DVKLQJWRQ'&                           Zia M. Faruqui, U.S. Magistrate Judge
                                                                                              Printed name and title
